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Attorneys for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

 

ROBERT TAYLOR and VERONICA J_
TAYLOR, husband and Wife,

Plaimiffs,

VS.

NATlONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA, a
foreign corporation, LOTSOLUTIONS, INC.,
a foreign oorporation, Cl-IARTIS, INC., a
foreign corporation, AlG CLAIMS, INC., a
foreign corporation, formerly known as
CHARTIS CLAIMS, fNC., WELLS FARGO
BANK, N.A., a foreign corporation, and
JOHN DOES l through X, and BUSINESS
ENTITY DOES lthrough X,

Defendants.

 

Case No. 4:14-cv-00079-BLW

STIPULATION FOR EXTENSION ()F
TIME TO RESPOND T()
DEFENDANTS' MOTION FOR
PARTIAL DISMISSAL

 

 

 

COME NOW the parties, through their undersigned counsel of reeord, and hereby

stipulate and agree that the deadline for Plaintiffs to respond to Defendants’ Motion for Partial

STIPULATION FOR EXTENSION OF TIME TO RESPOND
TO DEFENDANTS’ MOTION FOR PART[AL DISMISSAL - l

 

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Disrnissal (Doc. No. ll) is extended until July 28, 2014.
DATED this llth day of July, 2014.

PEDERSEN and WHITEHEAD

By /s/Jarom A. Whirehead
Jarorn A. Whitehead, ISB #6656
Attorneys for Plaintiffs

DATED this llth day ofJuly, 2014.

DUKE SCANLAN & HALL, PLLC

By /s/ Brvan A. Nickels
Bryan A. Nickels, ISB #6432
Attorneys for Defendants

STIPULATION FOR EXTENSION OF TIME TO RESPOND
TO DEF`ENDANTS’ MOTION FOR PARTlAL DlSMlSSAL - 2

 

